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                                               September 23, 2021


 BY ECF & OVERNIGHT MAIL

 Honorable Freda L. Wolfson
 Chief United States District Judge
 U.S. District Court for the District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street Court, Room 5E
 Trenton, New Jersey 08608

                  Re:      Sanofi-Aventis U.S., LLC v. U.S. Department of Health and Human
                           Services, et al., Civil Action No. 3:21-cv-634

 Dear Chief Judge Wolfson:

        Plaintiff Sanofi-Aventis U.S., LLC (“Sanofi”) respectfully notifies the Court of two material
 developments relevant to this case.

          First, and most recently, on September 22, 2021, Defendant Health Resources and Services
 Administration (“HRSA”) referred Sanofi’s “continued failure to provide the 340B price to covered
 entities utilizing contract pharmacies” to “the HHS Office of the Inspector General (OIG) in
 accordance with the 340B Program Ceiling Price and Civil Monetary Penalties Final Rule.” See Exhibit
 A. This sets in motion the possible imposition of civil monetary penalties (“CMPs”) on Sanofi in
 connection with its 340B integrity initiative. Indeed, in its May 17 letter to Sanofi that is being
 challenged in this action and that forms the basis for this OIG referral, HRSA already announced its
 final determination that Sanofi’s integrity initiative violated Section 340B. Rather than wait for this
 Court to rule on the fully briefed dispositive motions regarding the permissibility of Sanofi’s program,
 HRSA has taken another step toward imposing potentially massive financial penalties—simply
 because Sanofi is continuing to operate its program while awaiting judicial resolution of the matter.
 This is all the more remarkable because, after HRSA sent its May 17 letter first threatening Sanofi with
 CMPs, Chief Judge Stark held that Section 340B does not unambiguously support the agency’s
 position—confirming the impropriety of CMPs, which are available only when a party willfully violates
 the law. See Astrazeneca Pharms. LP v. Becerra, No. CV 21-27-LPS, 2021 WL 2458063, at *10-11 (D.
 Del. June 16, 2021); 42 U.S.C. § 256b(d)(1)(B)(vi) (allowing for CMPs only where manufacturer
 “knowingly and intentionally charges a covered entity a price for purchase of a drug that exceeds the
 maximum applicable price”).




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         Second, on August 5, 2021, HRSA invited the National Association of Community Health
 Centers (“NACHC”) to submit a new alternative dispute resolution (“ADR”) petition against Sanofi
 that does not include claims against Eli Lilly & Company (“Lilly”). See Exhibit B. HRSA advised
 NACHC that it would not move forward with NACHC’s pending ADR petition against Sanofi,
 AstraZeneca, and Lilly because the U.S. District Court for the Southern District of Indiana had
 preliminarily enjoined HRSA from implementing or enforcing the ADR Rule against Lilly. But as a
 workaround to the preliminary injunction, HRSA provided instructions to NACHC on how to submit
 a new ADR petition that excludes claims against Lilly. Following HRSA’s guidance, NACHC filed an
 amended ADR petition against Sanofi and AstraZeneca on August 31, 2021. Sanofi has now been
 served with NACHC’s amended petition, and an ADR panel could be assigned at any time. Sanofi
 thus faces an increased risk of being haled before an ADR panel to answer NACHC’s amended ADR
 petition, even though the ADR Rule is legally invalid for the reasons argued by Sanofi in this Court.

         In light of these two developments, Sanofi respectfully reiterates its request for an expedited
 ruling on the pending dispositive motions, to provide clarity about Sanofi’s rights and obligations
 under Section 340B as well as regarding the validity of the agency actions challenged in this case.

                                                    Respectfully Submitted,

                                                    s/ Jennifer L. Del Medico


 cc: All counsel of record
